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                                                                                      FILED
                                                                                      MAY 2 3 2013
                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION
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 ** ***** ** ** ** * ** * *** * ** ** * * ** * ** ** * ** * * * * * *********
                                       *
 UNITED STATES OF AMERICA,             *          CR. 12-50131-04
                                       *
           Plaintiff,                  *
                                                 *
        vs.                                      *                   ORDER
                                                 *
 MARIO RANGEL,                                   * (Motion for Disclosure of Grand Jury
                                                 *           Testimony, Doc. 160)
                Defendant.                 *
                                           *
 *** * * * *** * * ** * * * ** ** ** ** * * ** * ** ** * * ** * * ** * * * ** ** * **
        Defendant Mario Rangel ("Rangel") moves the Court for an order compelling the United
 States to produce the testimony of each witness who testified before the grand jury in this case.
 Doc. 160. The Government resists. Doc. 171.


                                         BACKGROUND
        On September 25, 2012, the grand jury indicted Rangel along with eight co-defendants on
 charges of: Conspiracy to Defraud the United States in violation of 18 U.S.C. § 371; Conspiracy to
 Harbor, Encourage, and Induce Aliens to Reside in the United States in Violation of the Law in
 violation of 8 U.S.C. §1324(a)(1)(A)(v)(I); and Harboring, Encouraging, and Inducing Aliens to
 Reside in the United States in Violation of the Law in violation of8 U.S.C. §1324(a)(l)(A)(v)(II).


        The Indictment alleges that four companies (Munoz Logging and Construction Company
 ("Munoz Logging") , Black Hills Thinning Company ("Black Hills Thinning") , Escalante Logging
 Company ("Escalante Logging") and SM Logging Company ("SM Logging") obtained contracts
 with the United States Government (specifically the United States Forest Service ("USFS") during
 a period of time beginning on January 1, 2008 through the date of the Indictment. The Indictment
 further alleges the companies consistently submitted bids which were lower than their competitors,
 and that the companies circumvented contract requirements "by hiring, employing and harboring
 undocumented workers, by paying these workers less than prevailing wages and benefits, and thereby
 obtaining contracts from USFS by submitting bids to do service work under the contracts for a lower
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 price than competitors, knowing that the workers were not eligible, documented or authorized
 workers. Their false, fictitious, and fraudulent activities were a mechanism to enrich the defendants
 beyond which they would otherwise be entitled beyond the contracts."


         The Indictment alleges that Rangel "is a manager for Munoz Logging." It further alleges that
 Rangel (along with other named defendants) "paid or arranged for payment of wages to the illegal
 workers for work under USFS contracts by issuing checks to the illegal workers, by issuing checks
 to false or fictitious individuals, or by making payments by check to other employees, the proceeds
 ofwhich were to be divided among several ofthe unauthorized alien employees in the form ofcash."
 Count I, ~33.   The Indictment also alleges Rangel, (along with the other named defendants)
 "instructed unauthorized or undocumented alien employees to obtain any Social Security number,
 real or fictitious, whether in the employee's name or not, to use for the purpose of paying the
 employees." Id. at ~ 34. It alleges Rangel knew the employees were illegal aliens, illegally harbored
 them in the United States, and conspired with the other defendants to illegally harbor the employees
 in the United States. Counts II and III.


                                            DISCUSSION
         Fed. R. Crim. P. 6(e) governs the disclosure of grand jury testimony. Rangel specifically
 cites Fed. R. Crim. P. 6(e)(3)(E)(I) and (ii) which states:
         (E) The Court may authorize disclosure-at a time, in a manner, and subject to any
         other conditions that it directs-of a grand jury matter:
                (I)     preliminarily to or in connection with a judicial proceeding;
                (ii)    at the request of a defendant who shows that a ground may exist to
                        dismiss the indictment because of a matter that occurred before the
                        grand jury;
         "Although disclosure of grand jury proceedings under certain circumstances is now
 authorized by Rule 6 of the Federal Rules of Criminal Procedure, a long-established policy in the
 federal courts maintains the secrecy of these proceedings. Parties seeking disclosure must show a
 particularized need and the decision to permit disclosure lies within the sound discretion ofthe trial
 judge." United States v. Benson, 760 F.2d 862, 863 (8 th Cir. 1985) (citations omitted, punctuation
 altered).




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       Rangel asserts he has shown a particularized need for disclosure.            He claims the
government's conduct before the grand jury was improper because (1) Rangel's employment with
Munoz Logging and Construction consisted solely as manager of the construction division of the
company, but the contracts at issue in the Indictment were with the logging division. Rangel fonned
his own construction company (Rangel Construction Company, LLC) in December, 2008 and left
the employment of Munoz Logging and Construction altogether in September, 2009;1 (2) No
evidence has been submitted nor has it been alleged that any undocumented workers were hired,
harbored, or induced to reside in the United States by or to work for the construction division of
Munoz Logging and Construction or that any illegal acts occurred in relation to the multiple federal
construction contracts perfonned by the construction division ofMunoz Logging and Construction
during Rangel's tenure as manager of the construction division of that company; (3)There is no
evidence that Rangel Construction Company employs illegal aliens; (4) Rangel Construction
Company's computers and records were mistakenly seized during the search ofMunoz Logging and
Construction Company's premises; (5) At the time the Indictment was issued, the Government did
not know Rangel tenninated his employment with Munoz Logging and Construction in September,
2009; and (6) Although Munoz Logging and Construction has been suspended from doing business
with the federal government pending resolution ofthese federal charges, Rangel's separate business
(Rangel Construction Company LLC) continues to do business with the federal government.


       Rangel alleges that the Homeland Security Agent(s) who prepared the case worked closely
with Alfred Heinrich from the United States Department ofAgriculture and William Highland from
the USFS. Heinrich and Highland both worked closely with Rangel in his capacities as construction
manager at Munoz Logging and as the owner of Rangel Construction and were both aware Rangel
left Munoz Logging in September, 2009. Rangel further asserts:
       As Mario is alleged to be the manager of Munoz Logging, one would assume, that
       during Special Agent Lunders' coordination with both Heinrich and Highland an
       inquiry would have been made into Mario's involvement with MLCC. It's
       reasonable to assume that during that inquiry both Heinrich and Highland would have


        IThe time period of the activities alleged in the Indictment spans from January 1, 2008
through the date of the Indictment (September 25,2012). If Rangel's employment with Munoz
logging ceased in September 2009 there remains a twenty-one month overlap with the time frame
of the activities alleged in the Indictment.

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        fully disclosed their knowledge of Mario's involvement as president of a separate
        independent construction company, unaffiliated with MLCC. Further MLCC
        completed construction contracts on behalf ofUSFS while Mario was a manager of
        that division. How this crucial material evidence and other forms of evidence like;
        1). MLCC payroll records indicating Mario's non-employment in 2009 2). SBA
        documents indicating Mario's status as construction division manager, that were all
        available at the time of the indictment and coincidentally all failed to make it to the
        grand jury is the subject of prosecutorial overreaching and Mario's particularized
        need.

        Out ofthe 530 photo copies of'Munoz Logging' checks provided by the Government
        through discovery, only 10, or a fraction of 1I53rd, are specifically referenced as
        having been allegedly signed by Mario and paid to those who are alleged as being
        fictitious payees, or undocumented workers. There are other references in Special
        Agent Chad Visger's August 20, 2012 report which make claims to bulk amounts of
        checks, in terms of 50, 59, 57, 12 and 47 wherein Mario, Barbara and Angel are
        alleged to have each signed some, but there is no specific indication as to how many
        each person signed. Assumably the above fraction will hold true if and when the
        referenced bulk checks are produced to counsel. As Mario's signature appears on
        'Munoz Logging' ...checks Mario was presented to the grand jury as though he
        actively managed Munoz Logging and signed payroll checks to loggers who were
        directly under his supervision and control especially if bulk checks references were
        made to the grand jury. One can assume that this lead grand jurors to believe Mario
        was intimately aware of the workers he supervised and knowledgeable as to their
        undocumented status. As the Government had the direct knowledge of the opposite
        of that fact from its coordination with Heinrich and Highland, such presentation to
        the grand jury was misleading and inappropriate.


        Rangel cites United States v. Calandra 414 U.S. 338, 343, 94 S.Ct. 613, 617, 38 L.Ed.2d 561
 (1974) for the proposition that "in guiding the process of the grand jury, the United States attorney
 may not engage in fundamentally unfair tactics or deliberately mislead the jury. He may not, for
 instance, introduce evidence that he knows to be perjured, or conceal substantial evidence negating
guilt." (Emphasis added). That quote, however, did not come from the United States Supreme Court
 in Calandra. It came from a Second Circuit Court of Appeals case-United States v. Giambrone,
 601 F.2d616, 623 (2 nd Cir. 1979). In Calandra, the United States Supreme Court said an indictment
 which is valid on its face is not "subject to challenge on the ground that the grand jury acted on the
 basis of inadequate or incompetent evidence." United States v. Calandra 414 U.S. 338, 345, 94
 S.Ct. 613, 618, 38 L.Ed.2d 561 (1974).




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        The Eighth Circuit has explained that "at the same time, the United States attorney is not
 obliged to search for and submit to a grand jury evidence favorable to the defense or negating guilt
 when it has not been requested by the grand jury." United States v. Lame, 716 F.2d 515, 518 (8 th Cir.
 1983). Since Ciambrone, the United States Supreme Court has unequivocally held that a district
 court may not dismiss an otherwise valid indictment on the ground that the government failed to
 disclose to the grand jury "substantial exculpatory" evidence. United States v. Williams, 504 U.S.
 36, 54, 112 S.Ct. 1735, 1745, 118 L.Ed.2d 352 (1992).2 "If the grand jury has no obligation to
 consider all 'substantial exculpatory' evidence, we do not understand how the prosecutor can be said
 to have a binding obligation to present it."


        In its response to the motion, the Government concedes that grand jury testimony falls within
 the requirements ofwitness statement requirements pursuant to Fed. R. Crim. P. 26.2 and the Jencks
 Act. The Government explains: "[Pretrial] [d]isclosure is not required .. Regardless, in accordance
 with the practice ofthis Court and the Court's local Rules, disclosure of Jencks Act material will be
 made in advance oftrial in this matter." See Doc. 171 at p. 5. The Government does not explicitly
 so acknowledge its duty to do so, but it must also provide Rangel with any grand jury materials or
 transcripts which constitute exculpatory information as required by the decision in Brady v.
 Maryland, 373 U.S. 83 (1963).


        In its brief, the Government explains the discovery materials it has provided support the
 claims of criminal activity against Rangel which are contained in the Indictment. Doc. 173.
 Specifically, the Government represents "at a minimum, discovery shows the defendant's
 involvement in different aspects of the crimes charged including, among other things, signing of
 payroll checks to undocumented workers. The defendant's claims are trial-related matters, and are
 not grounds comprising a particularized need for disclosure of grand jury testimony." Id. at p.4.


        At the heart of Rangel's claim of particularized need and/or that a ground may exist to
 dismiss the Indictment under Fed. R. Crim. P. 6(e)(3)(E)(ii) is that the prosecutor failed to disclose


        2See United States v. Dunn, 2005 WL 1705303 (S.D. N.Y.) at fn 7 (recognizing that after
 Williams, Ciambrone is no longer good law.

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 exculpatory evidence to the grand jury. Exculpatory information in the prosecutor's possession must
 be given to Rangel prior to trial pursuant to Brady v. Maryland, 373 U.S. 83 (1963). But pursuant
 to United States v. Williams, 504 U.S. 36, 54, 112 S.Ct. 1735, 1745, 118 L.Ed.2d 352 (1992) the
 prosecutor's failure to present exculpatory information to the grand jury does not constitute
 misconduct which constitutes particularized need nor does it require pre-trial production of grand
 jury transcripts under Fed. R. Crim. P. 6(e)(3)(E)(I) and (ii).


                                   CONCLUSION and ORDER
         Based upon these considerations, Rangel's motion is GRANTED, in part, and the United
 States shall provide Rangel with grand jury transcripts which may constitute witness statements
 under the provisions of Rule 26.2 and 18 U.S.C. § 3500 no later than the Friday prior to trial. The
 United states shall further provide the defendant with any grand jury materials or transcripts which
 constitute exculpatory information as required by the decision in Brady v. Maryland, 373 U.S. 83
 (1963). The balance of Rangel's motion (Doc. 160) is DENIED.


         Dated this   c13 day of May, 2013.
                                                BY THE COURT:




 ATTEST:

 JOSEPH HAAS, Clerk


 By   j,{ft1JWJ.   {L~                ,Deputy




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